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                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
             v.                               )          Case No. 22-CR-20072
                                              )
MARK A. WASHINGTON,                           )
                                              )
                      Defendant.              )


      ORDER APPROVING MAGISTRATE JUDGE’S RECOMMENDATION


      On April 8, 2024, a Report and Recommendation (#28) was filed by United States

Magistrate Judge Eric I. Long in the above cause. More than fourteen (14) days have

elapsed and no objections have been made. This court therefore accepts the

recommendation of the Magistrate Judge. Accordingly, Defendant Mark A.

Washington’s plea of guilty as to Counts 1 and 2 of the Indictment (#1) is accepted and

Defendant is adjudged guilty on those counts. The court orders that a pre-sentence

investigation is to be prepared. A sentencing hearing remains set for August 26, 2024, at

3:45 pm before this court.

                  ENTERED this 23rd day of April, 2024.

                    s/ Colin Stirling Bruce
                     COLIN S. BRUCE
                     U.S. DISTRICT JUDGE
